                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                               Plaintiff,
                                                                      Case No. 06-CR-264
               -vs-

BALDOMERO CASTILLO,
MICHAEL CORNELIUS,

                               Defendants.


                                              ORDER


               The defendants have brought a variety of motions in limine prior to the start of trial

in the above-captioned case. The Court has read the objections, the government’s proposed factual

offering, and the government’s argument and rules as follows.

               First, the Court will accept the stipulation of the parties as to those objections which

have been resolved in that manner.

               Second, based on the government’s representation, no Federal Rules of Evidence

404(b) evidence will be presented at trial.

               Third, the government will not present evidence related to the defendant’s probation

or parole status, provided that there is a quid pro quo as to the government’s witness, Amanda

Ortega.

               Fourth, the Court will allow evidence as it relates to the defendants’

affiliation/membership in the Latin King Gang. This is supported by Seventh Circuit precedent for

a number of reasons and, in addition is offered to disprove the defendants’ theory of defense.


    Case 2:06-cr-00264-RTR           Filed 07/30/07      Page 1 of 2      Document 60
               Fifth, the Court will allow evidence related to the government’s witnesses’ smell of

and subsequent seizure of marijuana in the automobile and later seizure of marijuana in the subject

apartment. This survives a 404(b) challenge because it falls under aegis of the “intricately

related”standard. These facts are interconnected to the underlying crime, complete the picture of

the case, and allow the government to counter the defendants’ theory of defense.

               Sixth, the Court will allow evidence of the seizure of the gun under United States v.

Hubbard, 61 F.3d 1261 (7th Cir. 1995) and related authority.



               Dated at Milwaukee, Wisconsin, this 30th day of July, 2007.

                                                      SO ORDERED,


                                                      s/ Rudolph T. Randa
                                                      HON. RUDOLPH T. RANDA
                                                      Chief Judge




                                                -2-

    Case 2:06-cr-00264-RTR          Filed 07/30/07      Page 2 of 2     Document 60
